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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
KCB                                                 271 Cadman Plaza East
F. #2018R02184                                      Brooklyn, New York 11201



                                                    April 1, 2019


By Hand Delivery and ECF

Michael Weil
Federal Defenders of New York, Inc.
One Pierrepont Plaza, 16th Floor
Brooklyn, NY 11201
718-407-7413
Fax: 718-855-0760
Email: michael_weil@fd.org

              Re:     United States v. Lucio Celli
                      Criminal Docket No. 19-127 (AMD)

Dear Mr. Weil:

               Enclosed please find the government’s discovery in accordance with Rule 16
of the Federal Rules of Criminal Procedure. The government also requests reciprocal
discovery from the defendant.

I.     The Government’s Discovery

       A.     Statements of the Defendant

              The enclosed disc contains a copy of a video-recorded statement made by the
defendant following his arrest, as well as a waiver of rights form signed by the defendant.
(LC000001–02.) The enclosed disc also contains partially-redacted records prepared by the
United States Marshals Service (“USMS”), portions of which reflect the defendant’s
statements. (LC000003–07.)

       B.     The Defendant’s Criminal History

             Partially-redacted records pertaining to the defendant’s criminal history are
enclosed. (LC000008–30.)
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       C.     Documents and Tangible Objects

              The enclosed disc contains partially-redacted copies of:

                      USMS booking paperwork (LC000031–38.); and
                      Records provided by the Metropolitan Detention Center (LC000039–40.).

              You may examine the physical evidence discoverable under Rule 16,
including original documents, by calling me to arrange a mutually convenient time.

       D.     Reports of Examinations and Tests

             The government will provide you with copies of any additional reports of
examinations or tests in this case as they become available.

       E.     Expert Witnesses

                The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R.
Evid. 702, 703 and 705 and notify you in a timely fashion of any expert that the government
intends to call at trial and provide you with a summary of the expert’s opinion.

              The identity, qualifications, and bases for the conclusions of each expert will
be provided to you when they become available.

       F.     Brady Material

             The government is not aware of any exculpatory material regarding the
defendant. The government understands and will comply with its continuing obligation to
produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny.

               Before trial, the government will furnish materials discoverable pursuant to
Title 18, United States Code, Section 3500, as well as impeachment materials. See Giglio v.
United States, 405 U.S. 150 (1972).

       G.     Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance
of trial if it intends to offer any material under Fed. R. Evid. 404(b).

II.    The Defendant’s Required Disclosures

               The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes,
tangible objects, or copies or portions thereof, that are in the defendant’s possession, custody
or control, and that the defendant intends to introduce as evidence or otherwise rely on at
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trial, and (2) any results or reports of physical or mental examinations and of scientific tests
or experiments made in connection with this case, or copies thereof, that are in the
defendant’s possession, custody or control, and that the defendant intends to introduce as
evidence or otherwise rely upon at trial, or that were prepared by a witness whom the
defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order
to avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of
trial.

               The government also requests that the defendant disclose a written summary
of testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and
705 of the Federal Rules of Evidence. The summary should describe the opinions of the
witnesses, the bases and reasons for the opinions, and the qualification of the witnesses.

               Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written
notice of the defendant’s intention, if any, to claim a defense of actual or believed exercise of
public authority, and also demands the names and addresses of the witnesses upon whom the
defendant intends to rely in establishing the defense identified in any such notice.

III.   Emails Sent and Received by Defendants Incarcerated at a Bureau of Prisons Facility

               The government may request that the Bureau of Prisons (“BOP”) produce to
the government emails sent and received by the defendant during his/her period of
incarceration at a BOP facility (collectively, “BOP email communications”). While it is the
government’s position that BOP email communications, including those between the
defendant and his or her attorneys and other legal assistants and paralegals on their staff, are
not privileged communications, in most instances, the government will request that the BOP
exclude from any production communications between the defendant and his or her attorneys
and other legal assistants and paralegals on their staff, if you provide the full email addresses
for such attorneys, legal assistants and paralegals by April 15, 2019. To enable this process,
the government requests that you send an email to the undersigned Assistant U.S.
Attorney(s) with the list of email addresses in the body of the email. If you subsequently
wish to provide an email address for an additional attorney, legal assistant or paralegal or
change any of the previously-provided email addresses, you should send an email with the
complete list of email addresses, including email addresses that remain unchanged, in the
body of the email.

IV.    Future Discussions

               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.


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               Please be advised that, pursuant to the policy of the Office concerning plea
offers and negotiations, no plea offer is effective unless and until made in writing and signed
by authorized representatives of the Office. In particular, any discussion regarding the
pretrial disposition of a matter that is not reduced to writing and signed by authorized
representatives of the Office cannot and does not constitute a “formal offer” or a “plea offer,”
as those terms are used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye,
132 S. Ct. 1399 (2012).

                                                   Very truly yours,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                            By:     /s/ Kayla Bensing
                                                   Kayla Bensing
                                                   Assistant U.S. Attorney
                                                   (718) 254-6279

Enclosures

cc:    Clerk of the Court (AMD) (by ECF) (without enclosures)




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